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6                IN THE UNITED STATES DISTRICT COURT FOR THE

7                       EASTERN DISTRICT OF CALIFORNIA

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9    MAXIMINO JIMENEZ BARRAZA,         )       No. CV-F-09-1356 OWW
                                       )       (No. CR-F-05-258 OWW)
10                                     )
                                       )       MEMORANDUM DECISION AND
11                   Petitioner,       )       ORDER DENYING PETITIONER'S
                                       )       MOTION TO VACATE, SET ASIDE
12             vs.                     )       OR CORRECT SENTENCE PURSUANT
                                       )       TO 28 U.S.C. § 2255 AND
13                                     )       DIRECTING CLERK OF COURT TO
     UNITED STATES OF AMERICA,         )       ENTER JUDGMENT FOR
14                                     )       RESPONDENT AND TO CLOSE
                                       )       CIVIL CASE
15                   Respondent.       )
                                       )
16                                     )

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          On July 30, 2009, Petitioner Maximino Jimenez Barraza,
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     proceeding in pro per, filed a "motion for time reduction by an
20
     inmate in federal custody under Title 28 U.S.C. § 2255."            As
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     grounds for relief, Petitioner asserts that the United States can
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     offer up to two points downward departure if a defendant accepts
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     a final deportation order, and that his sentence violates equal
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     protection and due process because a defendant who is an alien is
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     deprived of the opportunity to earn a one year reduction of
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1    sentence “through a drug program three months half-way house to

2    prepare to re-assimilate, a Unicor job, with good wages and other

3    benefits.”

4         Petitioner pleaded guilty pursuant to a written Plea

5    Agreement to conspiracy to possess with intent to distribute a

6    controlled substance, 500 grams or more of a mixture or substance

7    containing a detectable amount of methamphetamine, and aiding and

8    abetting, in violation of 21 U.S.C. §§ 841(a)(1) and 846 and 18

9    U.S.C. § 2.    Pursuant to the Plea Agreement, Petitioner agreed as

10   follows:

11                The defendant agrees not to seek any downward
                  departures that would result in a sentence of
12                less than 96 months imprisonment. The
                  defendant understands and agrees that this
13                agreement by him includes, but is not limited
                  to, not presenting the court with any other
14                information in an effort to obtain a lower
                  sentence, not moving for a downward departure
15                of his offense level, criminal history
                  category, or criminal history points as
16                defined by the United States Sentencing
                  Guidelines. This also includes not
17                requesting that any portion of his sentence
                  run concurrent to any criminal justice
18                sentence that he may be serving. The
                  defendant agrees that any of the actions
19                listed in this paragraph constitutes a breach
                  of this agreement and the government shall be
20                permitted to withdraw from the plea
                  agreement.
21
                  ...
22
                  The defendant is aware that Title 18, United
23                States Code, Section 3742 affords a defendant
                  the right to appeal the sentence imposed.
24                Acknowledging this, the defendant knowingly
                  waives the right to appeal his conviction or
25                any sentence which is in accordance with the
                  maximum provided in the statute(s) of
26                conviction (or the manner in which that

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1               sentence was determined) on the grounds set
                forth in Title 18, United States Code,
2               Section 3742 or on any other ground whatever,
                in exchange for the concessions made by the
3               United States in this plea agreement. The
                defendant also waives his right to challenge
4               his conviction, sentence or the manner in
                which it was determined in any post-
5               conviction attack, including but not limited
                to a motion brought under Title 28, United
6               States Code, Sections 2241 or 2255.

7         Petitioner was sentenced on November 21, 2006 to 96 months

8    incarceration and 60 months supervised release.        Petitioner did

9    not file a Notice of Appeal.

10        Petitioner’s Section 2255 motion is untimely.         Motions

11   pursuant to Section 2255 are subject to a one-year limitation

12   period.   Section 2255 provides that a one-year period of

13   limitation applies to a Section 2255 motion, which limitation

14   period runs from the latest of:

15              (1) the date on which the judgment of
                conviction became final;
16
                (2) the date on which the impediment to
17              making a motion created by governmental
                action in violation of the Constitution or
18              laws of the United States is removed, if the
                movant was prevented from making a motion by
19              such governmental action;

20              (3) the date on which the right asserted was
                initially recognized by the Supreme Court, if
21              that right has been newly recognized by the
                Supreme Court and made retroactively
22              applicable to cases on collateral review; or

23              (4) the date on which the facts supporting
                the claim or claims presented could have been
24              discovered through the exercise of due
                diligence.
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     Here, the one year limitation period commenced on November 30,
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1    2006.

2         In Calderon v. U.S. Dist. Court for Central Dist. of Cal.,

3    128 F.3d 1283 (9th Cir. 1997), cert. denied, 522 U.S. 1099 and

4    523 U.S. 1061 (1998), overruled on other grounds, 163 F.3d 530

5    (9th Cir. 1998), the Ninth Circuit held that the one-year

6    limitations period applicable to Section 2255 motions is subject

7    to equitable tolling.    However, the Ninth Circuit further held:

8               Equitable tolling will not be available in
                most cases, as extensions of time will only
9               be granted if ‘extraordinary circumstances’
                beyond a petitioner’s control make it
10              impossible to file a petition on time ... We
                have no doubt that district judges will take
11              seriously Congress’s desire to accelerate the
                federal habeas process, and will only
12              authorize extensions when this high hurdle is
                surmounted.
13
     Id. at 1288-1289.    Petitioner makes no showing that he is
14
     entitled to equitable tolling of the one-year limitation period.
15
          Petitioner expressly waived his right to challenge his
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     conviction or sentence pursuant to Section 2255.         A defendant may
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     waive the statutory right to bring a Section 2255 motion
18
     challenging his conviction or sentence.       United States v. Pruitt,
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     32 F.3d 431, 433 (9th Cir.1994); United States v. Abarca, 985
20
     F.2d 1012, 1014 (9th Cir.1992), cert. denied, 508 U.S. 979
21
     (1993).   The Ninth Circuit has ruled that “a plea agreement that
22
     waives the right to file a federal habeas petition pursuant to 28
23
     U.S.C. § 2254 is unenforceable with respect to an IAC claim that
24
     challenges the voluntariness of the waiver.”        Washington v.
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     Lampert, 422 F.3d 864, 871 (9th Cir.2005), cert. denied, 547 U.S.
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1    1074 (2006).      Here, Petitioner makes no claim that the his plea

2    was involuntary or that counsel was ineffective in advising him

3    to accept the waiver of the right to collaterally attack his

4    conviction or sentence in the plea agreement.

5         For the reasons stated:

6         1.     Petitioner Maximino Jimenez Barraza’s motion to vacate,

7    set aside or correct sentence pursuant to 28 U.S.C. § 2255 is

8    DENIED;

9         2.     The Clerk of the Court is directed to enter JUDGMENT FOR

10   RESPONDENT and to close the civil case.

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12             IT IS SO ORDERED.

13   Dated: September 3, 2009              /s/ Oliver W. Wanger
     emm0d6                           UNITED STATES DISTRICT JUDGE
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